




02-12-011-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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&nbsp;

NO. 02-12-00011-CV 

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  In the Interest of Leticia Manzano
  
  
  &nbsp;
  
  
  &nbsp;
  
 


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FROM THE 233rd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On January
24, 2012, February 13, 2012, and February 21, 2012, we notified appellant, in
accordance with rule of appellate procedure 42.3(c), that we would dismiss this
appeal unless the $175 filing fee was paid.&nbsp; See Tex. R. App. P.
42.3(c).&nbsp; In our notice of February 21, 2012, we returned a check to her that
was erroneously made out to Tarrant County District Court, and we gave
appellant an additional ten days to pay the $175 filing fee.&nbsp; Appellant has not
paid the $175 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).

Because
appellant has failed to comply with a
requirement of the rules of appellate procedure and the Texas Supreme Court’s
order of August 28, 2007,[2]
we dismiss the appeal.&nbsp; See Tex. R. App. P. 42.3(c), 43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.&nbsp; See
Tex. R. App. P. 43.4.

&nbsp;

PER
CURIAM

PANEL:&nbsp;
GARDNER,
WALKER, and MCCOY, JJ.

&nbsp;

DELIVERED:&nbsp;
March 15, 2012









[1]See Tex. R. App. P. 47.4.





[2]See Supreme Court of
Tex., Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation,
Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).







